Case 2:05-md-01657-EEF-DEK Document 28675-3 Filed 12/03/09 Page 1 of 2

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

IN RE: VIOXX®

PRODUCTS LIABILITY LITIGATION

MDL Docket No. 1657

SECTION L

Judge Eildon E. Fallon
Magistrate Judge Knowles

THIS DOCUMENT RELATES TO
PLAINTIFFS LISTED IN EXHIBIT A TO
MERCK “THIRD” MOTION TO DISMISS:

Agard, et al., v. Merck & Co. [David Agard,
James Demoski]

Aljibory, et al., v. Merck & Co. [Viola Santacrose] Case No.:
Cavallo, et al., v. Merck & Co. [Matthew Cavallo] Case No.:
Case No.:
Case No.:
Connolly, et al., v. Merck & Co. [Majorie Curtis, Case No.:

Core, et al. v. Merck & Co, [Richard Core]
Gates, et al., v. Merck & Co. [Scott Berthel]

Kristine Hia, and Maurice Hoyt]

Case No.:

2:05-cv-01089

2:05-cev-01096
2:05-cv-01513
2:05-cv-02583
2:05-cv-06221
2:06-cv-02708

2:06-cv-05779
2:05-cv-01088
2:05-cv-01091
2:08-cv-03220

Kurtz v. Merck & Co. [Mary Kurtz] Case No.:
Dier, et al., v. Merck & Co. [Timothy Mack] Case No:.:
Holobosky, et al., v. Merck & Co. [Ann Mannino] Case No.:
DuFresne v. Merck & Co., [Frank Spencer] Case No.:
NOTICE OF HEARING

PLEASE TAKE NOTICE that upon Plaintiff's Motion for Recusal of This Court and the

accompanying Memorandum of Law in Support of Their Motion for Recusal of This Court, and

upon all the pleadings and prior proceedings heretofore, served and/or filed herein, plaintiffs will

move this Court, before the Honorable Eldon E. Failon, United States District Judge, at the

United States Courthouse for the Eastern District of Louisiana, 500 Poydras Street, New Orleans,

LA 70130, at the next Monthly Vioxx Status Conference, in January 2010, at 9:00 a.m., or as

soon thereafter as the parties may be heard, for an order recusing this Court pursuant to 28 U.S.C.

Case 2:05-md-01657-EEF-DEK Document 28675-3 Filed 12/03/09 Page 2 of 2

§455(a) or (b)(1), and will seek such other and further relief as is just and proper.

Dated: December 3, 2009

TO:

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